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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 1:21-cr-605 (RC)
                                              :
ISAAC WESTBURY,                               :
AARON JAMES,                                  :
ROBERT WESTBURY, and                          :
JONAH WESTBURY,                               :
                                              :
                       Defendants.            :

                        UNITED STATES’ PRETRIAL STATEMENT

       Pursuant to this Court’s Pretrial Scheduling Order of June 26, 2023, the United States of

America, by and through its attorney, the United States Attorney for the District of Columbia and

undersigned counsel, submits the following pretrial statement. The Government solicited the

defendants’ input on the pretrial statement. The defendants, however, only provided objections to

portions of the pretrial statement. The Government included those objections as received, which

were to the proposed jury instructions. The Government also included the defendants’ proposed

exhibit list, which the defense counsel characterized as a preliminary draft, and the identity of two

informally noticed expert witnesses.

       1. Proposed Statement of The Case

       This is a criminal case, in which the defendants, Isaac Westbury, Aaron James, Robert

Westbury, and Jonah Westbury, are charged by Indictment with eleven (11) counts in connection

with events that occurred at the United States Capitol on January 6, 2021. Count One charges the

defendant Aaron James with civil disorder. Count Two charges the defendants Isaac Westbury and

Aaron James with civil disorder. Count Three charges the defendants Isaac Westbury and Aaron

James with forcibly assaulting, resisting, opposing, impeding, intimidating, or interfering with law
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enforcement officers with a deadly or dangerous weapon. Count Four charges the defendants Isaac

Westbury and Aaron James with entering or remaining in a restricted building or grounds with a

deadly or dangerous weapon. Count Five charges defendants Robert Westbury and Jonah

Westbury with entering or remaining in a restricted building or grounds. Count Six charges the

defendants Isaac Westbury and Aaron James with disorderly or disruptive conduct in a restricted

building or grounds with a deadly or dangerous weapon. Count Seven charges defendants Robert

Westbury and Jonah Westbury with disorderly or disruptive conduct in a restricted building or

grounds. Count Eight charges defendants Isaac Westbury and Aaron James with engaging in

physical violence in a restricted building or grounds with a deadly or dangerous weapon. Count

Nine charges each defendant with disorderly and disruptive conduct on Capitol Grounds. Count

Ten charges defendants Isaac Westbury and Aaron James with engaging in an act of physical

violence within Capitol Grounds. Finally, Count Eleven charges each defendant with parading,

demonstrating, or picketing in a Capitol Building.

       Isaac Westbury, Aaron James, Robert Westbury, and Jonah Westbury, who are presumed

innocent, deny the allegations contained in the Second Superseding Indictment, have entered a

plea of not guilty to all charges and have requested a jury trial.

       2. The parties estimate trial is anticipated to last seven days including jury selection.

       3. The Government does not intend to call any expert witnesses at trial. The Government’s

           witness list will, however, include two members of the FBI’s CART (Computer

           Analysis Response Team) who conducted extractions of the devices seized in this case

           (i.e., cellphones). The defendants informally indicated an intent to call Steven Hill as a

           use of force expert witness. The defendants also informally indicated an intent to call

           Norbert Michael as an expert witness in the area of economics. Pursuant to Federal
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   Rules of Evidence 702, 703, and 705 as well as Federal Rule of Criminal Procedure 16,

   the Government objects to the introduction of testimony and evidence from either

   prospective defense expert witness. The defense’s expert notice did not provide an

   expert report containing the opinions or the bases for the opinions of Mr. Hill or Mr.

   Michael and is insufficient under the requirements for Fed. R. Crim. P. 16. This rule

   now requires disclosure of a complete statement of its expert testimony and a listing of

   expert qualifications, including the expert’s publications going back ten years and prior

   cases in which the expert has testified going back four years. Fed. R. Crim. P.

   16(b)(1)(C)(i)-(iii). See e.g., United States v. Coffee, No. 1:21-cr-0327 (ECF Entry

   dated 01/17/2024)(granting Motion to Exclude Expert Testimony of Steven Hill and

   Linda Cortez).

4. The following motions in limine remain pending before the Court:

       a. United States Motion in Limine re Security Topics (ECF No. 106)

       b. United States Motion in Limine re Capitol Police Cameras (ECF No. 107)

       c. United States Motion in Limine to Preclude Improper Defense Arguments (ECF

          No. 108)

       d. United States Motion in Limine to Admit Certain Statutes and Records (ECF

          No. 109)

       e. United States Motion in Limine to Admit Certain Videos and Digital Evidence

          (ECF No. 110)

       f. Defendants’ Motion in Limine to Preclude Raindrop Theory (ECF No. 114)

               i. United States Reply Memorandum in Opposition (ECF No. 116)

       g. Defendants’ Motion in Limine to Preclude Discussion of Signage (ECF No.
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           115)

               i. United States Reply Memorandum in Opposition (ECF No. 118)

5. The following motions to dismiss remain pending before the Court:

       a. Defendants’ Motion to Dismiss Counts 2, 3, 5, and 7 (ECF No. 112)

               i. United States Reply Memorandum in Opposition (ECF No. 119)

       b. Defendants’ Motion to Dismiss on First Amendment Grounds (ECF No. 113)

               i. United States Reply Memorandum in Opposition (ECF No. 117)

6. The defendants need to be arraigned on the second superseding indictment. (ECF No.

   122).

5. Proposed Voir Dire

       a. Please see Exhibit 1 (attached hereto).

6. Proposed Jury Instructions

       a. Please see Exhibit 2A [Jointly Proposed Jury Instructions] and 2B [Contested

           Proposed Jury Instructions] (attached hereto).

7. List of Prior Convictions

       a. Isaac Westbury – no known convictions to be used for impeachment purposes

       b. Aaron James - no known convictions to be used for impeachment purposes

       c. Robert Westbury - no known convictions to be used for impeachment

           purposes

       d. Jonah Westbury - no known convictions to be used for impeachment purposes

8. List of Exhibits

       a. Please see United States’ List (Exhibit 3 attached hereto).

       b. Please see Defendants’ Exhibit List (Exhibit 4 attached hereto).
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       9. Joint Stipulations of Fact or Exhibits

              a. The parties were unable to agree on joint stipulations.

       10. Judicial Notice Matters

              a. The Government respectfully requests the Court take judicial notice of the

                 Legal Authority contained in Government’s Proposed Exhibits 1000 through

                 1007 (Exhibit 5 attached hereto).

       11. Proposed Verdict Forms

              a. Please see Exhibit 6 (attached hereto).



Dated: January 22, 2024

                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     DC Bar No. 481052

                                                     /s/ Cytheria D. Jernigan
                                                     CYTHERIA D. JERNIGAN
                                                     Assistant U.S. Attorney, DC Bar No. 494742
                                                     U.S. Attorney’s Office WDLA
                                                     Detailed to the U.S. Attorney’s Office
                                                     For the District of Columbia
                                                     601 D. Street, NW
                                                     Washington, D.C. 20001
                                                     (318) 676-3611 (v)
                                                     Cytheria.Jernigan@usdoj.gov


                                                     /s/ Andrew S. Haag
                                                     ANDREW S. HAAG
                                                     MA Bar No. 705425
                                                     Assistant United States Attorney
                                                     601 D Street, NW
                                                     Washington, DC 20530
                                                     (202) 252-7755
                                                     Andrew.Haag@usdoj.gov
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